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 UNITED STATES DISTRICT COURT
 SOUTHERN DISTRICT OF NEW YORK
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                                                             :
ADELAIDO GALEANA et al.,                                     :                            8/6/2021
                                                             :
                                         Plaintiffs,         :
                                                             :         14-CV-3625 (VSB)
                           -against-                         :
                                                             :              ORDER
                                                             :
MAHASAN INC. et al.,                                         :
                                                             :
                                         Defendants.         :
                                                             :
                                                             :
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 VERNON S. BRODERICK, United States District Judge:

          On July 8, 2021, I issued an order staying all proceedings in this case against Defendant

 Juntima Netprachak until the conclusion of her Chapter 7 bankruptcy proceedings in the United

 States Bankruptcy Court for the Eastern District of New York. (Doc. 160.) On August 4, 2021, I

 received a letter from Plaintiffs, along with documentation, indicating that Netprachak received a

 discharge under 11 U.S.C. § 727 and that the bankruptcy case had closed. (Doc. 168.) Given that

 Netprachak has been unresponsive in this litigation for months, it is hereby:

          ORDERED that if Plaintiffs intend to seek default judgment against Netprachak, they are

 directed to do so in accordance with Rule 4(H) of my Individual Rules and Practices in Civil Cases

 by no later than September 6, 2021. If Netprachak intends to participate in this case and contest any

 default judgment that I award, she is directed to submit a filing as soon as possible.

          IT IS FURTHER ORDERED that Plaintiffs are directed to serve a copy of this Order on

 Defendants at their last known address(es) and then file proof of service on the docket.

 SO ORDERED.

 Dated:            August 6, 2021
                   New York, New York
